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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

2012 BUSY BEES CORPORATION AND                     §
STAR WHOLESALE, INC.                               §
      Plaintiffs,                                  §
                                                   §
v.                                                 §        CIVIL ACTION NO. 5:17-cv-1008
                                                   §
ALLIED PROPERTY AND CASUALTY                       §
INSURANCE COMPANY AND                              §
DAVID K. KAAPRO                                    §
     Defendants.                                   §

                                   NOTICE OF REMOVAL

       Defendants Allied Property and Casualty Insurance Company and David Kaapro

(“Defendants”), through undersigned counsel and pursuant to 28 U.S.C. §§ 1332, 1441 and 1446,

files this Notice of Removal of the lawsuit captioned Cause No. 2017CI16729; 2012 Busy Bees

Corporation and Star Wholesale, Inc. v. Allied Property and Casualty Insurance Company and

David K. Kaapro; in the 45th Judicial District of Bexar County, Texas.

                                             I.
                                        BACKGROUND

       1.      Plaintiffs 2012 Busy Bees Corporation and Star Wholesale, Inc. (hereinafter

“Plaintiffs”) initiated the present action by filing their Original Petition in Cause No.

2017CI16729, in the 45th Judicial District of Bexar County, Texas on August 31, 2017 (the

“State Court Action”). See Plaintiffs’ Original Petition, attached as Exhibit A.

       2.      Defendants appeared and answered on October 6, 2017, asserting a general denial

to the claims and allegations made in Plaintiffs’ Original Petition. See Defendants’ Original

Answer, attached as Exhibit B.
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        3.      Pursuant to 28 USC § 1446(a) all a copy of all process, pleadings, and orders served

upon Defendants in the State Court Action are incorporated in Exhibit A.

        4.      Pursuant to 28 U.S.C. § 1446(d), promptly after filing this Notice of Removal,

Defendants will give written notice of the removal to Plaintiffs through their attorney of record,

and to the clerk of the 45th Judicial District of Bexar County, Texas.

        5.      Pursuant to 28 USC §§ 1446(b)(1) and 1446(c)(1) this Notice of Removal has been

timely filed within 30 days of service on Defendants of Plaintiffs’ Original Petition and less than

one year after the commencement of this action.

                                                 II.
                                            JURISDICTION

        6.      This Court has original jurisdiction pursuant to 28 U.S.C. § 1332, and the matter

is removable to this Court pursuant to 28 U.S.C. § 1441(a) because there is complete diversity of

citizenship between the properly joined parties and the amount in controversy exceeds $75,000

exclusive of interest and costs.

A.      Diversity of Parties

        7.      Plaintiffs have pled that “Plaintiff is a Texas resident who resides and conducts

business in BEXAR County.” See Exhibit A, ¶ 1. Plaintiffs 2012 Busy Bees Corporation and

Star Wholesale, Inc. are both domestic corporations organized under the laws of the state of

Texas, with principal places of business in Texas. Pursuant to 28 U.S.C. § 1332(c)(1), therefore,

Plaintiffs are citizens of the State of Texas.

        8.      Allied Property and Casualty Insurance Company is organized under the laws of

Iowa and maintains its principal place of business in Iowa. Pursuant to 28 U.S.C. § 1332(c)(1),

therefore, Allied is a citizen of the State of Iowa.




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         9.      Defendant David Kaapro is a resident of the State of Utah, and maintains his domicile

in the State of Utah. Pursuant to 28 U.S.C. § 1332(a), therefore, Kaapro is a citizen of the State of

Utah.

         10.     Accordingly, there is complete diversity between the parties pursuant to 28 U.S.C. §

1332(a).

B.       Amount in Controversy

         11.     Plaintiffs’ Original Petition states that Plaintiffs seek “monetary relief over $200,000

but not more than $1,000,000.” See Plaintiffs’ Original Petition, Exhibit A, ¶ 5. The threshold for

diversity jurisdiction, $75,000, is therefore met by the allegations of Plaintiffs’ Original Petition.

         12.     Plaintiffs further seek compensation for 18% penalty interest, attorney’s fees and pre

and post-judgment interest. See Exhibit A. Penalties, exemplary damages, and attorneys’ fees are

included as part of the amount in controversy. 1

         13.     The amount in controversy plainly exceeds $75,000, exclusive of interest and

costs. See Exhibit A. Accordingly, the amount in controversy requirement of 28 U.S.C. § 1332(b)

is satisfied.

                                                  III.
                                              CONCLUSION

         14.     Removal of this action under 28 U.S.C. § 1441(a) is proper as the district courts of

the United States have original jurisdiction over the matter pursuant to 28 U.S.C. § 1332, and as all

requirements for removal under 28 U.S.C. § 1446 have been met.

         15.     WHEREFORE, Defendant Allied Property and Casualty Insurance Company

hereby provides notice that this action is duly removed.


1
          See H&D Tire & Automotive-Hardware, Inc. v. Pitney Bowes Inc., 227 F.3d 326, 330 (5th Cir. 2000); see
also St. Paul Reinsurance Co. v. Greenberg, 134 F.3d 1250, 1253 (5th Cir. 1998).



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                                              Respectfully submitted,

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                                              ATTORNEYS FOR DEFENDANT ALLIED
                                              PROPERTY AND CASUALTY INSURANCE
                                              COMPANY AND DAVID KAAPRO


                                CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing has been served upon the
following counsel of record via certified mail, return receipt requested on this 9th day of October,
2017 to:

       Marc K. Whyte                                                9414 7266 9904 2061 9337 66
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                                              /s/ Patrick M. Kemp
                                              Patrick M. Kemp




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